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    Entered on Docket
   5August 22, 2022
___________________________________________________________________
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  15
       Attorneys for Jennifer M. Goldstein
  16
                               UNITED STATES BANKRUPTCY COURT
  17                                  DISTRICT OF NEVADA
                                      LAS VEGAS DIVISION
  18

  19
       In re                                         ) Case No. 22-11249-abl
  20   NUVEDA LLC, A NEVADA LIMITED                  ) Chapter 11
       LIABILITY COMPANY                             )
  21                                                 )
                                    Debtor.          )
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  24
        ORDER APPROVING STIPULATION TO CONTINUE HEARINGS ON: (1) JENNIFER
  25    M. GOLDSTEIN’S MOTION TO DISMISS BANKRUPTCY CASE (ECF NO. 69); AND
  26         (2) THE NEVADA CANNABIS COMPLIANCE BOARD’S MOTION FOR
                          DECLARATORY RELIEF (ECF NO. 96)
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 1          The Court having considered the Stipulation to Continue Hearings on: (1) Jennifer M.

 2   Goldstein’s Motion to Dismiss Bankruptcy Case (ECF No. 69) (“Goldstein Motion to Dismiss”);

 3   and (2) the Nevada Cannabis Compliance Board’s Motion for Declaratory Relief (ECF No. 96)

 4   (“CCB Motion for Declaratory Relief”), attached hereto as Exhibit 1, and good cause appearing;

 5          IT IS HEREBY ORDERED that the Stipulation is APPROVED as follows:

 6          The hearing on the Goldstein Motion to Dismiss that is currently scheduled for August

 7   23, 2022 at 2:00 p.m. shall be vacated and continued to be heard at the same date and time as the

 8   United States Trustee’s Motion to Dismiss (ECF No. 111) is set for hearing, September 7, 2022

 9   at 1:30 p.m. Any replies in support of the Goldstein Motion to Dismiss will be filed on or before

10   August 30, 2022.

11          The hearing on the CCB Motion for Declaratory Relief that is currently scheduled for

12   August 24, 2022 at 1:30 p.m. shall be vacated and continued to be heard at the same date and

13   time as the United States Trustee’s Motion to Dismiss (ECF No. 111) is set for hearing,

14   September 7, 2022 at 1:30 p.m. Any replies in support of the CCB Motion for Declaratory Relief

15   will be filed on or before August 30, 2022.

16          IT IS SO ORDERED.

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19   Respectfully submitted:

20   DICKINSON WRIGHT, PLLC

21   /s/ Brian R. Irvine
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             EXHIBIT 1
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                          10

                          11      Attorneys for Jennifer M. Goldstein

                          12                               UNITED STATES BANKRUPTCY COURT
                                                                  DISTRICT OF NEVADA
                          13                                      LAS VEGAS DIVISION
                          14

                          15      In re                                         )       Case No. 22-11249-abl
                                  NUVEDA LLC, A NEVADA LIMITED                  )
                          16      LIABILITY COMPANY                             )       Chapter 11
                                                                                )
                          17                                     Debtor.        )
                          18                                                    )
                                                                                )
                          19

                          20       STIPULATION TO CONTINUE HEARINGS ON: (1) JENNIFER M. GOLDSTEIN’S
                                   MOTION TO DISMISS BANKRUPTCY CASE (ECF NO. 69); AND (2) THE NEVADA
                          21
                                  CANNABIS COMPLIANCE BOARD’S MOTION FOR DECLARATORY RELIEF (ECF
                          22                                  NO. 96)

                          23             Creditors Jennifer M. Goldstein (“Goldstein”), Dotan Y. Melech (“Melech”), Shane

                          24      Terry (“Terry”) and Phillip D. Ivey (“Ivey” and collectively with Melech and Terry the

                          25      “CWNevada Creditors”), Debtor NuVeda, LLC (“Debtor”), and the State of Nevada ex rel.

                          26      Cannabis Compliance Board (“CCB”), by and through their respective attorneys of record,

                          27      hereby stipulate as follows:

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                             1           1.      On April 11, 2022, Debtor commenced this case by filing its Subchapter V

                             2    Voluntary Petition (ECF No. 1).

                             3           2.      On June 29, 2022, Goldstein filed her Motion to Dismiss Bankruptcy Case (ECF

                             4    No. 69) (“Goldstein Motion to Dismiss”).

                             5           3.      On June 30, 2022, Goldstein filed a Notice of Hearing regarding the Goldstein

                             6    Motion to Dismiss (ECF No. 81), advising all parties that the Goldstein Motion to Dismiss

                             7    would be heard on August 23, 2022 at 2:00 p.m. and that any opposition to the Goldstein Motion

                             8    to Dismiss must be filed at least fourteen (14) days in advance of that hearing.

                             9           4.      On July 11, 2022, the CWNevada Creditors filed a Joinder to the Goldstein

                          10      Motion to Dismiss (ECF No. 85).

                          11             5.      On July 18, 2022, the CCB filed a Limited Joinder to the Goldstein Motion to

                          12      Dismiss (ECF No. 92).

                          13             6.      On July 18, 2022, the CCB filed its Motion for Declaratory Relief (ECF No. 96)

                          14      (“CCB Motion for Declaratory Relief”).

                          15             7.      On July 18, 2022, the CCB filed a Notice of Hearing regarding the CCB Motion

                          16      for Declaratory Relief (ECF No. 98), advising all parties that the CCB Motion for Declaratory

                          17      Relief would be heard on August 24, 2022 at 1:30 p.m. and that any opposition to the CCB

                          18      Motion for Declaratory Relief must be filed at least fourteen (14) days in advance of that

                          19      hearing.

                          20             8.      On August 4, 2022, the United States Trustee (“Trustee”) filed her Motion to

                          21      Dismiss Case (ECF No. 111) (the “U.S. Trustee Motion to Dismiss”).

                          22             9.      On August 4, 2022, the Trustee filed a Notice of Hearing regarding the U.S.

                          23      Trustee Motion to Dismiss, advising all parties that the U.S. Trustee Motion to Dismiss would be

                          24      heard on September 7, 2022 at 1:30 p.m. and that any opposition to the U.S. Trustee Motion to

                          25      Dismiss must be filed at least fourteen (14) days in advance of that hearing

                          26             10.     On August 8, 2022, Debtor filed an Omnibus Objection to the Goldstein Motion

                          27      to Dismiss and Related Joinders (ECF No. 118). No other oppositions, objections or joinders

                          28      have been filed in regard to the Goldstein Motion to Dismiss.


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                             1           11.     On August 10, 2022, Debtor filed its Response to the CCB Motion for

                             2    Declaratory Relief (ECF No. 119).

                             3           12.     The U.S. Trustee Motion to Dismiss, the Goldstein Motion to Dismiss and the

                             4    CCB Motion for Declaratory Relief raise many common issues of fact and law in support of the

                             5    relief requested in those Motions. Accordingly, Goldstein, the CWNevada Creditors, the Debtor,

                             6    and the CCB believe that it would be more efficient for the parties and for the Court to hold the

                             7    hearing on the Goldstein Motion to Dismiss and the CCB Motion for Declaratory Relief at the

                             8    same date and time that the U.S. Trustee Motion to Dismiss will be heard on September 7, 2022

                             9    at 1:30 p.m.

                          10             IT IS THEREFORE STIPULATED AND AGREED that the hearing on the Goldstein

                          11      Motion to Dismiss that is currently scheduled for August 23, 2022 at 2:00 p.m. shall be vacated

                          12      and continued to be heard at the same date and time as the U.S. Trustee Motion to Dismiss is set

                          13      for hearing, September 7, 2022 at 1:30 p.m. Any replies in support of the Goldstein Motion to

                          14      Dismiss will be filed on or before August 30, 2022.

                          15             IT IS FURTHER STIPULATED AND AGREED that the hearing on the CCB Motion for

                          16      Declaratory Relief that is currently scheduled for August 24, 2022 at 1:30 p.m. shall be vacated

                          17      and continued to be heard at the same date and time as the U.S. Trustee Motion to Dismiss is set

                          18      for hearing, September 7, 2022 at 1:30 p.m. Any replies in support of the CCB Motion for

                          19      Declaratory Relief will be filed on or before August 30, 2022.

                          20             IT IS SO STIPULATED.

                          21             Stipulated and agreed to this 15th day of August, 2022.
                          22
                                  DICKINSON WRIGHT, PLLC                           LAW OFFICE OF MITCHELL STIPP
                          23
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                                  and Phillip D. Ivey
                                                                                   Attorneys for State of Nevada, ex rel. Cannabis
                             9
                                                                                   Compliance Board
                          10

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